           Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 1 of 25




                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS

 STEVEN WAYNE FISH, ET AL.,

               Plaintiffs,

               v.                                           Case No. 16-2105-JAR

 KRIS KOBACH, KANSAS SECRETARY OF
 STATE,

               Defendant.


                                  MEMORANDUM AND ORDER

       This matter comes before the Court on Plaintiffs’ Motion to Enforce Court Orders and for

Order to Show Cause Why Defendant Kobach Should Not be Held in Contempt (Doc. 423). The

motion is fully briefed, and the Court conducted an evidentiary show cause hearing on this

motion after the conclusion of trial on March 20, 2018. In addition to the briefing and the

evidence and argument presented at the hearing, the Court has considered Defendant’s March 22,

2018 supplemental response, and Mr. Bryan Caskey’s April 3, 2018 affidavit.1 For the reasons

explained below, the Court grants Plaintiffs’ motion for contempt and awards them reasonable

attorney fees expended litigating this motion. Any further remedies shall be deferred until after

the Court issues its post-trial findings of fact and conclusions of law.

I.     Background

       On May 17, 2016, the Court issued an extensive Memorandum and Order granting in part

Plaintiffs’ motion for a preliminary injunction barring enforcement of the Kansas Documentary

Proof of Citizenship (“DPOC”) law until this case alleging a violation of § 5 of the National




       1
           Doc. 499.
             Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 2 of 25




Voter Registration Act (“NVRA”) could be decided on the merits.2 The preliminary injunction

order became effective June 14, 2016,3 and provides in relevant part:

                    Defendants are hereby enjoined from enforcing K.S.A. § 25-
                    2309(l) as to individuals who apply to register to vote in federal
                    elections at the same time they apply for or renew a driver’s
                    license. The Secretary of State is directed to register for federal
                    elections all otherwise eligible motor voter registration applicants
                    that have been cancelled or are in suspense due solely to their
                    failure to provide DPOC.4

Defendant sought and was denied a stay pending appeal. On September 23, 2016, Shawnee

County District Court Judge Larry D. Hendricks ordered Defendant to provide notice to all

voters impacted by this Court’s preliminary injunction ruling that they would be “deemed

registered and qualified to vote for the appropriate local, state, and federal elections for purposes

of the November 8, 2016 general election, subject only to further official notice.”5

         Also on September 23, 2016, while the appeal in this case was still pending, Plaintiffs

filed a Motion to Enforce Preliminary Injunction; for Order to Show Cause Why Defendant

Kobach Should not be Held in Contempt; and for Expedited Briefing and Hearing.6 The motion

set forth compelling evidence that Defendant was in violation of the Court’s preliminary

injunction by: (1) failing to add covered voters to the official registration list and poll books; (2)

forcing covered voters to use provisional ballots; and (3) issuing confusing and misleading

notices to voters regarding their registration status. Indeed, at the recent trial, Plaintiff Charles


         2
             189 F. Supp. 3d 1107 (D. Kan. 2016).
         3
             Doc. 145.
         4
          189 F. Supp. 3d at 1152. In addition to the Court’s order in this case requiring Defendant to register all
motor voter registrants who had been deemed incomplete or cancelled for failure to provide DPOC, there is a
preliminary injunction in place prohibiting state-specific instructions on the Federal mail-in form that would require
an applicant to produce DPOC. League of Women Voters v. Newby, 838 F.3d 1 (D.C. Cir. 2016), rev’g 195 F. Supp.
80 (D.D.C. 2016).
         5
             Brown v. Kobach, No. 2016-CV-550, slip op. at 3–4 (Shawnee Cty. Dist. Ct. Sept. 23, 2016).
         6
             Doc. 220.




                                                           2
             Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 3 of 25




Stricker testified that he took steps in September 2016 to make sure he was registered in time for

the upcoming general election. He called the Sedgwick County, Kansas election office and the

person with whom Mr. Stricker spoke stated that he was not sure whether Mr. Stricker would be

allowed to vote. Mr. Stricker was told it was complicated because there were legal issues “up in

the air.” When Mr. Stricker checked online to see if he was registered, there was no record of his

registration.7

         The Court ordered Defendant to appear in person on Friday, September 30, 2016, to show

cause why he should not be held in contempt given the allegations set forth in Plaintiffs’ motion

that he was not in compliance with the Court’s preliminary injunction order. Among other

things, Plaintiffs submitted evidence that the official notices received by registration applicants

covered by the order, Defendant’s websites, and the DMV receipt continued to suggest

applicants must submit DPOC to vote in the general election, or that their status was unclear. On

September 29, 2016, the parties filed a Joint Status Report setting forth an interim agreement on

the matters raised in Plaintiffs’ motion for contempt. Part of this agreement was that Defendant:

                     will instruct the county election officials to send out a new notice
                     that unequivocally advises covered voters that they “are deemed
                     registered and qualified to vote for the appropriate local, state, and
                     federal elections for purposes of the November 8, 2016 general
                     election, subject only to further official notice.” The parties will
                     prepare a draft notice for this Court’s review, revision, and
                     approval. Upon approval by this Court, Defendant will direct
                     county election officials to send the approved notice to covered
                     voters on or before October 12, 2016.8


         7
          Neither party established with Mr. Stricker during trial whether he in fact received the three separate and
inconsistent notices in his ELVIS record from 2016: (1) a notice telling him that while the Court’s preliminary
injunction entitled him to vote for federal office in November, he could not vote for other offices until he submitted
DPOC; (2) a notice stating that he was fully registered because the Sedgwick County election office had located a
Kansas birth certificate, despite the fact that Mr. Stricker was born in Missouri; and (3) the Court-approved notice
stating that he should disregard prior notices that may have been confusing and that he is deemed fully registered
subject only to official notice. Ex. 838.
         8
             Doc. 225 at 2 ¶ 1.




                                                          3
        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 4 of 25




       The Court cancelled the show cause hearing, but ordered the parties to submit to the

Court a draft of the proposed notice referenced in the joint status report that would be sent to

those Kansas voter registrants affected by the Court’s preliminary injunction order and a related

state court matter. On October 3, 2016, the parties submitted their proposed curative notices to

the Court by e-mail. The following day, the Court sent the parties by e-mail its revised notice.

The Court discussed this notice with the parties at an October 5, 2016 telephone conference, and

reached agreement as to its language. Again, this notice was written to remedy prior notices sent

by Defendant that incorrectly suggested to voters that their registration status was uncertain.

       During the October 5 status conference, Plaintiffs also expressed concern about notice

language on the Secretary of State’s websites and at the DMV in advance of the November 2016

general election. The Court made clear that it held Secretary Kobach responsible for correcting

the information on the State’s website to provide guidance to Kansas citizens seeking registration

information, and that the notices at the DMV given to new motor voter registrants also must be

modified. The Court asked Defendant, who appeared on his own behalf, questions about his

compliance with the preliminary injunction order. The Court specifically addressed whether

voters covered by the preliminary injunction order would receive the official Kansas postcards

confirming their registration, and providing their polling place:

               The Court: . . . here’s . . . another question I have. Most of us
               receive these postcards through the mail that tells us where our
               precinct is and where to go vote. And I was wondering what— so
               the— 17,000 people, or however many it is, that are going to get
               the notice, are they going to also receive the postcard? I mean,
               how will they know where to go vote?

               Mr. Kobach: Your Honor, this is Kris Kobach. They will get the
               same notice that others— that other voters get, that it notifies you
               of your polling place.




                                                 4
             Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 5 of 25




                    The Court: Okay. Great. And it doesn’t matter that this is
                    happening at this point in October, they should— they should still
                    be on track for getting the postcards in the mail; is that correct?

                    Mr. Kobach: Your Honor, you mentioned a moment ago to update
                    county websites too. . . .9

Defendant never answered the Court’s second, confirmatory question directly.10

         The Court heard evidence at trial and at the show cause hearing that a certificate of

registration, sometimes referred to as a notice of disposition, is a postcard mailed to those who

successfully register to vote in Kansas, which contains the voter’s voting precinct, party

affiliation, polling location, and the voter’s districts for various offices, including for the United

States House of Representatives (“postcards”). The postcards are typically sent two to four

weeks after a person’s voter registration application becomes “active” in the Kansas voter

registration database. Other than the initial postcard after registration, and when a voter’s polling

place changes, the frequency with which these postcards are sent to registered voters varies by

county and is left to each county’s discretion. Kansans traditionally consider these postcards as

confirmation that they are successfully registered to vote.

         The Court followed up the status conference with an Order on October 14, 2016,11

addressing certain issues raised at the status conference, and addressing an October 13, 2016




         9
             Doc. 232 at 15:4–21.
         10
            At the end of the hearing, Plaintiffs’ counsel asked for clarification about what notice “new DMV
registrants will receive.” Specifically, he wanted to know whether they would “receive the same notice that every
other registered voter receives or that we’ll see a copy of that notice before it’s issued.” Doc. 232 at 21:20–22:1.
Defendant replied that Plaintiffs were seeking a DMV-issued notice and he would provide revised wording to
counsel. This exchange referred to the notice provided to new registrants at the DMV, and adds no ambiguity to
whether standard postcards should have been sent to covered registrants confirming their registration status just like
all other registered voters. In its October 14, 2016 Order, this Court set forth approved language for the DMV
receipt provided to voter registration applicants when they apply to register when obtaining a driver’s license.
         11
              Doc. 241.




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        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 6 of 25




Joint Status Report filed by the parties, which presented three more notices in dispute. The Court

recounted the issues discussed at the October 5 status conference, and reiterated that “Secretary

Kobach was responsible for correcting the information on the State’s website to provide clear

guidance to Kansas citizens seeking registration information.”12 Because the Court was satisfied

by Defendant’s assurance at the October 5 status conference that the standard postcards would be

sent to all registrants covered by the Court’s order, no specific mandate to send notice of

disposition postcards was included in the October 14 order.

       Since the election, Plaintiffs’ counsel has continued to monitor Defendant’s compliance

with the Court’s preliminary injunction, and has submitted evidence of its repeated efforts

beginning in July 2017 to seek removal of language from the Kansas Secretary of State’s website

suggesting that covered applicants’ registration status is unknown for elections that take place

after November 2016. The parties were ultimately able to resolve most of these issues.

       In late 2017, Plaintiffs’ counsel learned that motor voter and federal form registrants

covered by this Court’s preliminary injunction and other courts’ orders had not received notice of

disposition postcards. Plaintiffs’ counsel first notified Defendant on November 10, 2017, that

they believed he was required to send these postcards under the preliminary injunction order.13

The letter therefore asked Defendant to “instruct all local elections authorities to send certificates

of registration to all voters registered pursuant to th[o]se court orders immediately.”14 On behalf

of Defendant, counsel Sue Becker responded to this letter on November 21, 2017, stating that the

postcards are unnecessary because “those who register to vote using the federal form or the




       12
            Id. at 3.
       13
            Doc. 424 Ex. F.
       14
            Id.




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        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 7 of 25




motor-voter form but do not provide DPOC receive the court ordered notices” instead.15

       Plaintiffs’ counsel’s November 10 letter also addressed concerns with the County

Election Manual. At the time counsel sent this letter, the County Election Manual was publicly

available on the Kansas Secretary of State’s website at https://www.kssos.org/forms/elections/

County% 20Election%20Manual%20(Combined).pdf. It is a reference guide for Kansas county

election officials containing the policies and directives of the Secretary of State’s office. The

November 10 letter explained to Defendant that the chapter on voter registration in the County

Election Manual incorrectly states that “[a]ny person who registers to vote for the first time in

Kansas must provide DPOC,” and asked Defendant to revise the identified language

immediately. In Ms. Becker’s November 21 response letter, she declined to correct the County

Election Manual, claiming that it is only an internal document currently scheduled for revision in

2018, and that it is only revised to reflect “permanent” changes in the law. She stated that any

modifications to the manual are communicated to the counties in “real time email or telephonic

communications.”16

       The parties met and conferred on December 7, 2017. During the meet-and-confer,

Defendant’s counsel stated that Defendant would not instruct local elections authorities to send

postcards to individuals who registered to vote at the DMV or who registered to vote using the

Federal Form, but who failed to provide DPOC. Defendant’s counsel claimed that these

postcards are unnecessary because covered voters receive the notices that this Court approved in

October 2016. Defendant’s counsel also refused to make modifications to the County Election

Manual, reiterating that it is scheduled to be revised by June 2018, but that even if this Court



       15
            Doc. 424, Ex. H.
       16
            Id.




                                                 7
        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 8 of 25




were to issue final judgment against Defendant, he would not modify the language in the County

Elections Manual to reflect such a judgment unless and until all appeals were exhausted. Ms.

Becker reiterated these positions in a December 11, 2017 letter to Plaintiffs’ counsel: Defendant

will not send the postcards to “covered individuals,” and will not change the County Election

Manual until there is a change in the law.

       Plaintiffs then filed the instant motion asking the Court to direct Defendant to show cause

why he should not be held in contempt for failing to abide by this Court’s preliminary injunction

order, and its October 14, 2016 order on noticing. Defendant responded and took the same

position he took in Ms. Becker’s letters to Plaintiffs—that Defendant was not required to send

postcards and instead was only required to send the Court-approved notices in October 2016, and

that the County Election Manual is only periodically revised, with interim emails to the counties

informing them of the correct procedure to comply with the Court’s orders. Defendant submitted

no evidence to the Court with his response. In reply, Plaintiffs pointed to the Court’s colloquy

with Defendant at the October 5, 2016 status conference where he represented that the postcards

would be sent.

       The Court scheduled the show cause hearing to immediately follow the bench trial in this

case. During her opening statement at the March 20 hearing, Ms. Becker for the first time

claimed that Defendant in fact sent postcards to covered individuals before the November 2016

election, a position not taken in any of the letters Ms. Becker sent at the end of 2017, nor in her

response to the motion. It also quickly became apparent that Defendant had no intention of

putting evidence of his compliance before the Court until prompted to do so. Defendant

eventually produced Mr. Caskey, the Assistant Secretary of State, Elections and Legislative

Matters for the State of Kansas. Mr. Caskey had testified several days earlier at trial about the




                                                  8
          Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 9 of 25




issue of the postcards. His trial testimony was consistent with Ms. Becker’s 2017 letters to

Plaintiffs’ counsel: that individuals covered by the Court’s preliminary injunction order receive

the notice approved by the Court at the October 5, 2016 status conference.17 After repeatedly

refusing to directly answer Plaintiffs’ counsel’s yes or no questions on this subject at trial, the

Court eventually intervened and reworded the question, “In other words, when you say that you

have instructed them to provide all of the notices and information that this court has ordered, is

that the same universe of information that other voters that were not on the suspense list received

from the state of Kansas?”18 After what the Court recounts was a lengthy pause, the following

exchange ensued:

                     THE WITNESS: It is not the same information. We have complied
                     with every court order that has been issued regarding this class of
                     individuals, but we have said explicitly that we have to track this
                     group of persons differently than we track every other registered
                     voter for purposes of this litigation. And we have complied with
                     every court order as relates to that and no one has told me we
                     haven't. I mean, we -- there have been lots of discussions about
                     notices and -- notices on websites and notices to voters and notices
                     provided to DMV. And, to the best of my knowledge, everyone's
                     in agreement on what's being sent and what hasn't so --

                     THE COURT: All right. Let me get some clarification. When you
                     say "court orders," you're including oral orders, are you not?

                     THE WITNESS: Yes.

                     THE COURT: So you are sending postcards to all of these people?
                     Because I ordered Mr. Kobach to do that in a status hearing that I
                     had with him probably well more than a year ago.

                     THE WITNESS: All persons receive a notice, yes.




         17
             See Doc. 508 at 29:14–15 (“He would receive the notice that’s been required by the court in the course of
this litigation); 942:8–9, 17–18 (indicating that he has complied with the court orders when asked if he has
instructed county election officials to provide the same information to covered individuals as to other registrants).
         18
              Id. at 943:5–10.




                                                          9
        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 10 of 25




                   THE COURT: Postcards, the same postcards that you and I
                   receive, those -- the standard postcard notices that tell them where
                   to go vote and what their precinct number is, et cetera, does
                   everybody receive those, all the people involved in this case on this
                   suspense list?

                   THE WITNESS: I would have to verify that. Off the top of my
                   head, I just don't want to say positively for all 105 counties. I just
                   would need to check before I can say that definitively. And I can
                   do so before the end of this litigation.

                   THE COURT: Okay.

                   THE WITNESS: Before the end of this trial, I can do that.19

       The Court was not provided with a verification from Mr. Caskey before the end of trial,

but at the show cause hearing, he again testified on this subject. Mr. Caskey testified that he now

recalls giving an oral instruction to county election officials on October 5 or 6, 2016, the day

after the Court’s status conference, to send out standard postcards to all individuals covered by

the Court’s preliminary injunction order. He claimed that after his trial testimony, he consulted

his calendar and determined that he instructed the counties about notices on that date.

Nonetheless, when pressed, Mr. Caskey admitted:

                   I am positive that a notice was required to be sent to the voters and
                   that notice included the ability to find where your polling place is
                   and an ability to know that you were considered registered to vote.
                   And the court drafted the notice and so I am positive that that
                   notice reflects the court's decision.

                   I personally have been unsure at times if there was an additional
                   notice required by the court based on my review of written orders.
                   For the time period that you speak, during that entire time period, I
                   have not always been sure exactly what the court’s directive is as
                   regarded two pieces of paper instead of one.20

       Mr. Caskey testified that on October 12, 2016, he sent an e-mail to the counties


       19
            Id. at 943:24–944:22.
       20
            Doc. 516 at 72:25–73:12.




                                                     10
        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 11 of 25




explaining the special notice language they were to send to covered applicants making clear they

were fully registered to vote, and eliminating Defendant’s proposed language suggesting their

status was uncertain and temporary. Mr. Caskey pointed to language at the end of his email

stating that “[t]his document replaces all documents previously issued by this office concerning

this topic.”21 Defendant suggests that this language may have inadvertently communicated to the

county election officials that Mr. Caskey’s previous oral directive to send standard postcards to

covered individuals was superseded by this directive to send the specific notices approved by the

Court. Mr. Caskey testified that since the time of his trial testimony on March 8–9, he asked

four county election officials whether they sent standard postcards when directed in October

2016, and received confirmation that three out of four had not. Sedgwick County was the only

county that Mr. Caskey could confirm sent the standard postcards.

       In addition to Mr. Caskey’s testimony, Defendant addressed the Court and represented

that he directed his staff to ensure that the counties sent standard postcards before the 2016

general election: “I'm telling you now that I directed the staff to make sure that that would

happen. It appears that I had a greater deal of confidence in what the counties would do when

instructed immediately over, the telephone than what they actually did.”22

       Defendant explained at the hearing that the County Election Manual has been taken

offline. Mr. Caskey testified that this document was last revised in 2012 to reflect the DPOC

law, and that it is not his office’s practice to update the document as procedures change. Mr.

Caskey testified that he instead sends regular emails to the counties providing guidance, with the

same standard language in Exhibit 1 instructing them that his email directive supersedes prior



       21
            Def. Ex. 1 & attach. at 2.
       22
            Doc. 516 at 112:5–9.




                                                 11
         Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 12 of 25




written documents on a subject.

         After the hearing, Defendant supplemented the record with two affidavits by Mr. Caskey.

In his March 22, 2018 Affidavit, Mr. Caskey attests that he sent the following written directive

by email to all county election officials in Kansas:

                    Dear County Election Officers:
                    In the event that your county is not already doing so, every person
                    who applies to register to vote at a Division of Motor Vehicles
                    office and does not provide proof of citizenship and every person
                    who applies to register to vote using the federal voter registration
                    application and does not provide proof of citizenship must be sent
                    TWO notices. The first notice should be the attached notice that
                    has been sent since October 2016 and was subsequently modified
                    in December of 2017. The second notice is the standard postcard
                    informing the voter of his or her polling place and district
                    assignments. These two notices should be sent at the same time.
                    In addition, every person who is currently in suspense with a
                    reason of applying to register to vote at a Division of Motor
                    Vehicles office or with the federal form and has not provided proof
                    of citizenship, must be sent the standard postcard, even if one has
                    already been sent. Thus, although each person should have already
                    received notices, our office would like the postcard and the
                    attached notice to be sent again. The deadline for this to be
                    completed is Friday, April 6th, 2018. Once every person has been
                    sent these notices, please inform me.23

         On April 3, 2018, Mr. Caskey filed another affidavit explaining that he has received

confirmation from 49 counties that they have sent standard postcards to all covered residents. He

states that he will be reminding the counties during a weekly conference call the week of April 9,

and that he will call the individual counties that have not complied.24

II.      Discussion

         Plaintiffs’ January 8, 2018 motion argues that Defendant violated the preliminary


         23
            Doc. 499. The Court notes that Mr. Caskey’s language in this notice suggests that the counties continue
to treat the voters affected by this Court’s order as “in suspense,” instead of registered per the Court’s preliminary
injunction order, and in violation of the Court’s preliminary injunction order.
         24
              Doc. 517.




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         Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 13 of 25




injunction order, and the October 14, 2016 order governing notices. Plaintiffs ask the Court to

impose sanctions, including an order directing Defendant to: (1) instruct local elections

authorities to send certificates of registration, i.e. registration postcards, to individuals who

registered to vote at the DMV or using the Federal Form, regardless of whether such registrants

have submitted DPOC; and (2) correct the County Election Manual to make clear that

individuals who apply to register to vote through the DMV or using the Federal Form need not

submit DPOC. Plaintiffs also seek attorney fees they incurred in preparing the motion.

        Civil contempt sanctions are considered coercive and are “designed to compel future

compliance with a court order,” or to be compensatory.25 To prove civil contempt, Plaintiffs

must show by clear and convincing evidence that (1) a valid court order existed; (2) Defendant

had knowledge of the order; and (3) Defendant disobeyed the order.26

        A.          Valid Court Order and Defendant’s Knowledge

        The Court finds by clear and convincing evidence that a valid court order existed

requiring Defendant to “register for federal elections all otherwise eligible motor voter

registration applicants that have been cancelled or are in suspense due solely to their failure to

provide DPOC” and that Defendant had knowledge of the order. The term “register” is not

ambiguous, nor should there have been any question that these voters were to be treated just like

any other registered voter prior to the 2016 election, particularly after the state court decision

requiring him to register them for state and local elections as well.

        Defendant argues that the Court’s orders were not clear that standard postcards must be

sent, or that the County Election Manual must be updated. The Court disagrees. First,


        25
             Int=l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 827–29 (1994).
        26
           E.g., Phone Directories Co. v. Clark, 209 F. App=x 808, 813 (10th Cir. 2006); FTC v. Kuykendall, 371
F.3d 745, 756 (10th Cir. 2004).




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       Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 14 of 25




Defendant’s acknowledgments in open court belie this argument. He admitted several times

during the hearing that he understood the Court’s order meant he was to treat those covered by

the preliminary injunction the same as all other registered voters, which included sending the

standard postcard upon registration. Second, it would be impossible for Defendant to fully

comply with this Court’s orders unless he provided clear and unambiguous direction to the

counties, and ensured their compliance. He is the chief election official for the State of Kansas,

charged with enforcing the NVRA. The Court made clear to him at the October 5 conference

that it expected him to ensure the counties’ compliance:

                   Well, I'm holding you responsible for directing them to and
                   mandating them to, because you're the Secretary of State. And you
                   are the-- you are the No. 1 authority and-- and it is your
                   responsibility to manage elections in Kansas. So I know a lot of it
                   is administered at the county level, but I think you have the
                   authority to mandate that they do it. And then-- and then tell them
                   to tell you that they've complied, so that you can share that with
                   the Court. I know you can't physically go perhaps to the county
                   election office and do it yourself, but you certainly can direct and
                   mandate them to do it, just like you did tell them what to do when
                   the, you know, DPOC law came into being. I mean, you directed
                   them what to do in response to that. So I think you have to direct
                   them what to do in response to this as well.

                   ....

                   They have-- they take their direction from you on this. And I think
                   it's your responsibility to give them that direction. I understand
                   some of them may be able to change it tomorrow and some it may
                   take longer. But they've got to do it. And for sure when people are
                   calling in, because people are confused-- I mean, we've had calls to
                   this office. And I'm not in a position to take calls and answer
                   questions. But if people are calling their county election offices,
                   they need to get the right information. And the only way
                   apparently that's going to happen in some counties is if you set
                   them straight. So I expect you to do that, Mr. Kobach, that's your
                   job obviously. All right.27


       27
            Doc. 232 at 16:4–20.




                                                    14
         Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 15 of 25




If there was any confusion about Defendant’s responsibilities after the Court issued its clearly

worded preliminary injunction order in May 2016,28 the Court’s oral directives should have left

Defendant without question about his duties after October 5, 2016. Mr. Caskey was not on the

entire call and is not an attorney; he certainly is not the chief election official for the State of

Kansas. The Court holds Defendant responsible for complying with the Court’s Orders.

        At the show cause hearing, Defendant disingenuously suggested that he had insufficient

time in 2016 to make changes to comply with the Court’s orders. But the curative actions

necessitated by the first motion for contempt and the Court’s October 14, 2016 notice order were

the result of confusing and inconsistent information published to the public by Defendant

between May and October 2016. Defendant also disingenuously argued at the show cause

hearing that the Court’s orders were ambiguous, dynamic or fluid, and represented continuing

changes in rules. On the contrary, the status conference and notice order were corrective and

curative measures taken in response to Plaintiffs’ seriatim discoveries that Defendant was not

complying with the preliminary injunction in various publications meant to inform the county

election officials, the registrants affected by the order, and the voting population at large.

Defendant’s confusing notices, and his patent failure to fully inform and monitor compliance

with the preliminary injunction order caused confusion and misinformation. Among the plethora

of evidence demonstrating this confusion is the trial testimony of Mr. Stricker, who called the

Sedgwick County Election office prior to the election, and was told they did not know whether

he was registered because of the complicated legal issues involved. Defendant should have been

well aware of this concern, given Plaintiffs’ report at the October 5, 2016 status conference that


        28
           The Court incorporates by reference its admonishment to Defendant at the show cause hearing regarding
his claims of confusion. Doc. 516 at 125:15–128:23 (stating, in part, “The preliminary injunction says the same
thing today as it said back then. It’s still operative. . . . There has been no change of rules. There’s been no
confusion and there’s been no ambiguity.”).




                                                       15
        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 16 of 25




county election officials had been giving incorrect information to callers asking about their

registration status, and this Court’s report that it had received calls from confused citizens.

       Defendant has a history of noncompliance with the preliminary injunction order. He not

only willfully failed to comply with the preliminary injunction for five months, but then only

partially complied in October 2016 upon the threat of contempt. After that, Defendant failed to

ensure that registered voters received the standard notification of disposition postcards, despite

his assurance to this Court at the October 5 status conference that they would be sent. To the

extent Defendant had any question about the scope of the Court’s unambiguous directive to

register covered applicants, there could be no confusion after the October 5, 2016 status

conference when the Court made plain its expectation that those covered by the Court’s

preliminary injunction should be treated like all other registered voters, which included receiving

those standard postcards. Defendant himself admitted at the March 20 hearing that he

understood that individuals covered by the preliminary injunction order should be treated no

different from all other registered voters. And he indicated he understood the Court’s

expectations when he represented to the Court that he personally directed his staff to ensure that

the postcards would be sent, and that he would “continue to notify the counties of what their

responsibilities are and what the rules are.”29 The Court finds by clear and convincing evidence

that Defendant had knowledge of this Court’s valid court orders.

       B.         Violations of Court Order

                  1.      Certificates of Registration

       Up until March 20, 2018, Defendant took the position that the Court’s orders directed

him to send only the notices containing the Court-approved curative language about the change


       29
            Doc. 232:18:17–19.




                                                  16
         Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 17 of 25




in covered registrants’ status for purposes of the November 2016 election. He argued that by

approving these notices, the Court implicitly excused him from sending the standard postcards

that are otherwise sent to all registered voters to confirm their registration and provide their

polling place. It was only on March 20, 2018, at the show cause hearing, that defense counsel

for the first time informed the Court that Defendant instructed his staff to ensure that the standard

postcards were sent to covered registrants, and that Mr. Caskey in fact orally instructed the

counties to send standard postcards in October 2016. Also at the March 20 hearing, Defendant

offered to direct the counties to resend the standard postcards.

        While the Court recognizes Mr. Caskey’s hearing testimony, and his recently-filed

affidavits demonstrating that he has now directed the counties to send standard postcards, the

Court finds that this effort is “too little, too late” to avoid a contempt finding. Plaintiffs first

notified Defendant that they believed the postcards had not been and should be sent to covered

registrants on November 10, 2017. Ms. Becker adamantly denied that this was required by the

Court’s preliminary injunction order, and repeatedly refused on Defendant’s behalf to send out

the postcards. The motion for contempt was filed on January 8, 2018. Again, in response to the

motion, Ms. Becker insisted Defendant was not required to send these postcards. It was not until

the hearing on the motion more than two months later that Defendant changed course and (1)

claimed he had personally directed his staff to ensure that postcards be sent; (2) claimed that Mr.

Caskey had in fact directed the counties to send standard postcards, but that the directive was

inadvertently superseded by his later instruction about the Court-approved special notices; and

(3) promised to send the standard postcards now.30




         30
            Even at the show cause hearing, Ms. Becker began her opening statement by arguing that the Court’s
orders did not require that postcards be sent to affected voters.




                                                        17
        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 18 of 25




       Defendant’s three new claims are insufficient to avoid contempt for several reasons. First

and foremost, the Court does not find Mr. Caskey’s testimony to be credible. It strains credulity

to believe that Mr. Caskey, after months of denying that the Court’s orders required him to send

standard postcards to covered registrants, remembered a few days before the show cause hearing

that he had in fact orally instructed the counties to send them. At trial, Mr. Caskey had no

recollection of sending those postcards and repeatedly avoided directly answering questions

about whether they were sent. He testified that he believed he had complied with the Court’s

orders, which he understood only required the notice language the Court had helped draft back in

October 2016. Mr. Caskey did not recall specifically whether he had directed that the standard

postcards be sent. And at the show cause hearing, despite his newfound recollection about his

oral instruction in October 2016, Mr. Caskey contradicted himself on cross-examination and

admitted that he had not been sure whether both the standard postcards and the Court-approved

notices must be sent to covered registrants, that his written instructions to the counties never

instructed them to send the standard postcards, and that in the “million conversations” he has had

with Defendant over the last eighteen months, he cannot recall Defendant ever telling him that he

had assured the Court that the standard postcards must be sent.

       Moreover, even if Mr. Caskey’s eleventh hour recollection is to be believed, he offered

no further proof to corroborate it. He claimed that his recollection was refreshed by reviewing

his calendar, but that was not in evidence. He claimed he informally spoke to four county

officials about whether they sent the standard postcards in October 2016 after this oral

instruction, but did not offer evidence from those counties about what they were instructed to

send. In fact, his testimony that three out of the four counties he informally polled told him that

they did not send the standard postcards is persuasive evidence that Mr. Caskey did not ensure




                                                 18
         Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 19 of 25




that the counties understood they were to be sent. Mr. Caskey’s inconsistent and evasive

testimony does not persuade the Court that he treated the registration applicants covered by this

Court’s preliminary injunction order the same as all other registrants by the Secretary of State’s

Office; they were not sent the documentary confirmation that all other Kansas registrants receive,

and have come to expect, to be assured that they are registered and where they are to vote.

         Finally, the Court is troubled by Defendant’s failure to take responsibility for violating

this Court’s orders, and for failing to ensure compliance over an issue that he explicitly

represented to the Court had been accomplished. For the first time since this dispute arose,

Defendant told the Court at the show cause hearing that he personally directed his staff to ensure

that the counties sent the standard postcards to registrants covered by the preliminary injunction

order. Assuming this statement is true, as the Court must given Defendant’s status as an officer

of the Court, he apparently took no steps to personally ensure compliance with this directive,

despite his status as chief election official for the State of Kansas. Instead, Defendant deflected

blame for his failure to comply onto county officials, and onto his own staff, some of whom are

not licensed attorneys.31 The letters from Plaintiffs seeking compliance with these issues were

directed to Defendant. The motion for contempt was directed to Defendant. It was Defendant’s

duty to ensure that the counties complied with the Court’s Orders, a duty this Court made crystal

clear to him back on October 5, 2016. As such, Defendant and not his staff, should bear the

burden of sanctions for the lengthy delay in compliance.




         31
          During his redirect examination of Mr. Caskey, Defendant asked him if he received direction from Sue
Becker, Garret Roe, another attorney in his office, or from his paralegal. This line of questioning was meant to
suggest that if Mr. Caskey did not learn from Defendant about the need to send out postcards, then the fault must lay
with someone else in his office. Doc. 516 at 104:8–105:17.




                                                         19
       Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 20 of 25




                   2.      County Election Manual

       It appears plain to the Court that to comply with the Court’s preliminary injunction,

Defendant was required to work closely with county election officials to ensure they were

properly trained and informed so that they could execute the law as modified by the Court in that

order. It also required Defendant to take steps to ensure that the public understood the law as

modified by the Court—that they may register to vote at the DMV without accompanying

DPOC. It is undisputed that the online document maintained by Defendant’s office and used to

communicate policy and training to the counties was not updated to reflect the Court’s ruling.

Instead, the County Election Manual continued to advise the counties that DPOC was required of

all voter registration applicants. According to Mr. Caskey, this document was last revised in

2012, but he communicated interim updates to the counties by e-mail, including updates based

on the Court’s orders. Mr. Caskey intends to revise the document again sometime this year. If

this document was only available internally, the Court would be persuaded that Defendant did

not disobey the Court’s order. But it was publicly available; the e-mails updating the document

were not.

       For the first time at the show cause hearing, Defendant shared with the Court that the

manual had been taken offline “several weeks ago” in response to Plaintiffs’ complaints.32 Yet,

as with the postcard issue, Defendant waited until Plaintiffs exhausted informal channels to

remedy the problem, and allowed Plaintiffs to fully brief a contempt motion and prepare for a

show cause hearing before taking this step.

       Moreover, Defendant’s basis for failing to update an online document is nonsensical. He

maintains that Mr. Caskey’s policy is to revise the manual every six years, and that interim


       32
            Doc. 516 at 48:7–8.




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       Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 21 of 25




updates are made by e-mail to the 105 county election officials whose offices rely on it.

Apparently, rather than update a centralized online training document for the counties’ reference,

each of the 105 counties are expected to archive and search for updates in the many emails they

receive from the Secretary of State’s Office over a six-year period until a revision is completed.

Mr. Caskey, who is charged with this document’s maintenance, testified that he was “too busy”

to update the manual in 2016.

       Defendant’s rationale for this inefficient procedure is that the County Election Manual

only includes “permanent” changes in the law, whereas the Court’s order was merely a

temporary injunction. This is part of the general theme of Defendant’s compliance with the

preliminary injunction order—that this Court’s order is not “the law.” Apparently, at the parties’

meet and confer session, Defendant represented that an update to the manual was not warranted

unless and until the Supreme Court either rules against Defendant on the merits, or denies a

petition for certiorari from an unfavorable decision before the Tenth Circuit Court of Appeals, a

process that could take years.33 Likewise, Defendant argued at the hearing that he had no control

over the county election officials, except to ensure that they complied with “the law,” which he

apparently interprets to only mean the DPOC law.

       This publication is the policy and training Bible for the 105 county election officials. As

a result, Defendant ensured that the manual was amended to reflect the SAFE Act and its new

DPOC requirement for voting registrations in 2012. Given that the Court’s preliminary

injunction was issued almost two years ago in May 2016, four years after the last revision, the

Court does not find credible Defendant’s rationale for not amending the document. Moreover,

taking the manual offline, almost two years later, means that the counties’ only resource is the


       33
            Doc. 424, Ex. B at 1.




                                                21
        Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 22 of 25




written, unmodified manual; as well as verbal or written direction Mr. Caskey gave them on

regular statewide phone calls and/or e-mails. The result of Defendant’s willful failure to direct

and ensure that Mr. Caskey modified the election manual was confusion. Registrants affected by

the preliminary injunction order were confused. And the county election officials, who should

have informed and assured these registrants that they were fully registered, were also confused,

as demonstrated by Mr. Stricker’s phone call to the Sedgwick County election office in

September 2016.

        The Court finds by clear and convincing evidence that Defendant disobeyed this Court’s

preliminary injunction order when he failed to ensure that voter registration applicants covered

by the preliminary injunction order became fully registered, a process that required accurate and

consistent information be provided to county election officials, individuals impacted by the

preliminary injunction, and the public. The Court heard evidence at trial that fully registered

voters in Kansas receive a standard postcard from their counties, confirming their registration

and instructing them of their polling place. Kansans have come to expect these postcards to

confirm their registration status, and Defendant ensured the Court on the record that they had

been sent prior to the 2016 general election. They were not, and the fact that he sent a different

notice to those voters does not wholly remove the contempt, nor does his attempt to resend

postcards eighteen months after the election and five months after Plaintiffs notified him of the

issue. The Court also heard evidence that Defendant willfully failed to make sure that the county

election officials were clearly and effectively trained to enforce this Court’s orders. The official

training manual for the counties continued to instruct that all voter registration applicants were

required to submit DPOC, and his efforts to revise these instructions informally and in a




                                                 22
         Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 23 of 25




piecemeal way led to confusion and misinformation. Plaintiffs have met their burden of

demonstrating the requirements of civil contempt by clear and convincing evidence.

        C.          Sanctions

        Sanctions for civil contempt may be used for two purposes: “(1) to compel or coerce

obedience to a court order . . . ; and (2) to compensate the contemnor’s adversary for injuries

resulting from the contemnor’s noncompliance[.]”34 Where a fine is compensatory, “the amount

of the fine must be based upon the complainant’s actual losses sustained as a result of the

contumacy.”35 At this time, there appears to be no need for an order compelling compliance with

the preliminary injunction order as to the postcard issue because Defendant is now in the process

of sending the standard postcards to all registered voters. Defendant has removed the election

manual from public view and has submitted evidence it updated the election manual by email.

However, as the Court has explained, this potentially worsens the problem because the county

election officials are reliant on a hard copy document that has not been updated to reflect the

Court’s orders. Although the Court may not need to coerce compliance with its unambiguous

preliminary injunction order, Defendant’s history of noncompliance and disrespect for the

Court’s decisions in this case as set forth above signals that specific, verifiable directives will be

necessary if a permanent injunction is warranted by the Court’s ultimate decision in this case.

Any such relief is deferred until the Court issues its findings of fact and conclusions of law under

Fed. R. Civ. P. 52.

        Although the Court does not impose coercive sanctions at this time for Defendant’s

contempt, it finds that compensatory relief is in order to make Plaintiffs whole for their actual


        34
          O’Connor v. Midwest Pipe Fabrications, Inc., 972 F.2d 1204, 1211 (10th Cir. 1992) (quoting Shuffler v.
Heritage Bank, 720 F.2d 1141, 1147 (9th Cir. 1983))
        35
             Id. (quoting Perfect Fit Indus., Inc. v. Acme Quilting Co., 646 F.2d 800, 810 (2d Cir. 1981)).




                                                            23
         Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 24 of 25




losses sustained during the lengthy period before Defendant purged the contempt. They are

entitled to their reasonable attorneys’ fees expended drafting their November and December

letters to Defendant, participating in the meet-and-confer session in December, drafting their

contempt motion and reply, and participating in the show cause hearing.36 Had Defendant or Ms.

Becker revealed to Plaintiffs in November that (1) Defendant and Mr. Caskey had directed the

standard postcards be sent in October 2016, (2) they were willing to immediately resend the

standard postcards, and (3) they would remove the County Election Manual from the public

website, the Court is confident that Plaintiffs (and the Court) could have avoided significant time

and expense in litigating this motion. This actual loss can be measured by assessing Defendant

the reasonable attorney fees expended by Plaintiffs’ counsel on those matters. Plaintiffs shall

submit to the Court an application for attorney fees by no later than April 30, 2018, in

compliance with D. Kan. Local Rule 54.2.

         IT IS THEREFORE ORDERED BY THE COURT that Plaintiffs’ Motion to Enforce

Court Orders and for Order to Show Cause Why Defendant Kobach Should Not be Held in

Contempt (Doc. 423) is granted. Defendant Secretary of State Kobach is assessed the

reasonable attorney fees expended by Plaintiffs’ counsel on this motion. Plaintiffs shall submit

to the Court an application for attorney fees by no later than April 30, 2018, in compliance with

D. Kan. Local Rule 54.2. Any further remedial measures are deferred until the Court’s decision

on the merits of this case.

         IT IS SO ORDERED.

         Dated: April 18, 2018




        36
           Hutto v. Finney, 437 U.S. 678, 690 n.14 (1978) (“Of course, fees can also be awarded as part of a civil
contempt penalty.”).




                                                         24
Case 2:16-cv-02105-JAR Document 520 Filed 04/18/18 Page 25 of 25




                                S/ Julie A. Robinson
                                JULIE A. ROBINSON
                                CHIEF UNITED STATES DISTRICT JUDGE




                               25
